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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                               CRIMINAL MINUTES - GENERAL




 Case No.          2:17-cr-00316-SVW                                                                Date    October 1, 2021


 Present: The Honorable        STEPHEN V. WILSON, U.S. DISTRICT JUDGE

 Interpreter

                Paul M. Cruz                                N/A                                                N/A
                Deputy Clerk                 Court Reporter/Recorder, Tape No.                       Assistant U.S. Attorney



                U.S.A. v. Defendant(s):            Present Cust. Bond              Attorneys for Defendants:         Present App. Ret.

Jeffrey Shawn Dalton                                                         N/A



                    IN CHAMBERS ORDER re:
                    REQUEST Filed by Defendant Jeffrey Shawn Dalton [54], and
 Proceedings:       MOTION to Dismiss for Lack of Jurisdiction Filed by Plaintiff USA as to Defendant Jeffrey Shawn Dalton [56]


        For the reasons stated in the Government's Motion, the Court hereby dismisses Defendant's petition without prejudice. The
Court advises Defendant that he may re-file his petition in the proper jurisdiction, the District of Arizona, in light of Defendant's
confinement at the Federal Correctional Institution in Phoenix, Arizona.




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                                                                         Initials of Deputy Clerk                PMC
cc: USM
    PSA

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